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                                                                                        Paul A. Blechner

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                                                                                File Number: 83764-00004



                                         November 9, 2020



Hon. Cathy Seibel
The Hon. Charles L. Brieant Jr.
Federal Building and United States Courthouse
300 Quarropas St.
White Plains, New York 10601-4150

         Re:       Terpin v. Pinsky, 20-CV-3557 (CS)

Dear Judge Seibel:

         Pursuant to Rule 2 D of Your Honor’s Individual Rules of Practice, Plaintiff Michael
Terpin requests oral argument in connection with Defendant’s recently filed motion to dismiss
the first amended complaint. (See Documents 38 to 43).

                                           Sincerely,

                                           /s/
                                           Paul A. Blechner

PAB
cc: N. Biale, Esq. (via email)
    M. Tremone, Esq. (via email)
    C. McCarthy, Esq. (via email)




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